Case 8:24-cr-00122-LKG Document 45 Filed 05/29/25 Page Lots

ENTERED

IN THE UNITED STATES DISTRICT COURT MAY 29 2025

FOR THE DISTRICT OF MARYLAND

AT GREENS

CLERK, U.S, DISTRICT COURT

United States of America * py _ DISTRICT OF KiARYLAND
v. ® Criminal Case No. LKG 24-0122
Damontay Johnson *
ke KK KK

REGULAR SENTENCING ORDER

(1) On or before July 8, 2025 (not more than 40 days from the date of this order), the
Probation Officer shall provide the initial draft of the presentence report to counsel for the
Defendant for review with the Defendant. If the Defendant is in pretrial detention, defense
counsel may not provide a copy of the recommendations section of the presentence report to the
Defendant in advance of meeting to review the presentence report, and may not leave the
recommendations section of the presentence report with the Defendant once the review has taken
place. The Probation Officer shall also provide the initial draft of the presentence report to
counsel for the Government.

(2) On or before July 22, 2025 (not less than 14 days from date in paragraph 1), counsel
shall submit, in writing, to the Probation Officer and opposing counsel, any objections to any
material information, sentencing classifications, advisory sentencing guideline ranges, or policy
statements contained in or omitted from the report.

(3) After receiving counsel’s objections, the Probation Officer shall conduct any
necessary further investigation and may require counsel for both parties to meet with the
Probation Officer to discuss unresolved factual and legal issues. The Probation Officer shall
make any revisions to the presentence report deemed proper, and, in the event that any objections
made by counsel remain unresolved, the Probation Officer shall prepare an addendum setting

forth those objections and any comment thereon.
Sentencing Guidelines Order - Regular (ReV. 12/2019)
Case 8:24-cr-00122-LKG Document45 Filed 05/29/25 Page2of3

(4) On or before August 4, 2025 (not less than 11 days from date in paragraph 2), the

Probation Officer shall file the report (and any revisions and addendum thereto) through
CM/ECF.

(5) If counsel for either party intends to call any witnesses at the sentencing hearing,
counsel shall submit, in writing, to the Court and opposing counsel, on or before

September 18, 2025 (not less than 14 days before sentencing), a statement containing (a) the names of

the witnesses, (b) a synopsis of their anticipated testimony, and (c) an estimate of the anticipated
length of the hearing.

(6) Sentencing memoranda are not required unless a party intends to request a
sentence outside the advisory guidelines range on the basis of a non-guideline factor. If
submitted, they shall be filed with the Clerk and a copy delivered to chambers on or before

September 18, 2025 (not less than 14 days before sentencing). Opposing or responding memoranda

are not required. If submitted, they shall be delivered to chambers on or before

September 25, 2025 (not less than 7 days before sentencing). Copies of all memoranda must be sent

to the Probation Officer. Sentencing memoranda are not sealed documents. If the memoranda or
attachments contain sensitive material, they should be filed under seal and accompanied by a
motion to seal.

(7) If the Government intends to seek restitution, a memorandum requesting

restitution and all supporting documentation shall be filed on or before September 18, 2025 (not

less than 14 days before sentencing). Failure to provide the restitution information or an explanation
for why the restitution information is not yet ascertainable by this date may result in an order to
show cause why the information could not have been timely provided and may result in the

Court denying or delaying restitution until after a hearing not to exceed 90 days after sentencing.

Sentencing Guidelines Order - Regular (Rev. 12/2019)
Case 8:24-cr-00122-LKG Document45 Filed 05/29/25 Page 3of3

(8) Sentencing shall be on October 2, 2025, at 10:30 a.m.

(9) The presentence report, any revisions, and any proposed findings made by the
Probation Officer in the addendum to the report shall constitute the tentative findings of the
Court under section 6A1.3 of the sentencing guidelines. In resolving disputed issues of fact, the
Court may consider any reliable information presented by the Probation Officer, the Defendant,
or the Government, and the Court may issue its own tentative or final findings at any time before
or during the sentencing hearing.

(10) Nothing in this Order requires the disclosure of any portions of the presentence

report that are not disclosable under Federal Rules of Criminal Procedure 32.

May 29, 2025
Date

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United States District Judge

Sentencing Guidelines Order - Regular (Rev. 12/2019)
